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                                                               CIVIL COVER SHEET
JS-44 (Rev. 10/2020 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 UNITED STATES OF AMERICA, ET AL                                                GOOGLE LLC



 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________                                                          11001
                                                                                   COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

Kenneth M. Dintzer                                                             Susan Creighton
U.S. Department of Justice, Antitrust Division                                 Wilson Sonsini Goodrich & Rosati
450 Fifth St., NW, Washington, D.C. 20530                                      1700 K Street NW, Fifth Floor
Phone: 202-227-1967                                                            Washington, DC 20006
 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                      PTF        DFT
 o 1 U.S. Government o 3 Federal Question
         Plaintiff                  (U.S. Government Not a Party)   Citizen of this State        o 1 o 1 Incorporated or Principal Place o 4 o 4
                                                                                                                     of Business in This State
 o 2 U.S. Government o 4 Diversity                                  Citizen of Another State     o 2 o 2 Incorporated and Principal Place o 5 o 5
         Defendant                  (Indicate Citizenship of
                                                                                                         of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o 3 o 3 Foreign Nation                   o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
            (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o A. Antitrust             o B. Personal Injury/                        o C. Administrative Agency                             o D. Temporary Restraining
                                     Malpractice                                    Review                                                  Order/Preliminary
       410 Antitrust                                                                                                                        Injunction
                               310 Airplane                                    151 Medicare Act
                               315 Airplane Product Liability                                                                    Any nature of suit from any category
                               320 Assault, Libel & Slander              Social Security
                                                                                                                                 may be selected for this category of
                                                                             861 HIA (1395ff)
                               330 Federal Employers Liability                                                                   case assignment.
                                                                             862 Black Lung (923)
                               340 Marine
                                                                             863 DIWC/DIWW (405(g))                              *(If Antitrust, then A governs)*
                               345 Marine Product Liability
                                                                             864 SSID Title XVI
                               350 Motor Vehicle
                               355 Motor Vehicle Product Liability           865 RSI (405(g))
                               360 Other Personal Injury                 Other Statutes
                                                                             891 Agricultural Acts
                               362 Medical Malpractice
                                                                             893 Environmental Matters
                               365 Product Liability
                                                                             890 Other Statutory Actions (If
                               367 Health Care/Pharmaceutical
                                                                                  Administrative Agency is
                                   Personal Injury Product Liability
                                                                                  Involved)
                               368 Asbestos Product Liability


 o E. General Civil (Other)                                    OR              o F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                 462 Naturalization
     210 Land Condemnation                  422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                        Application
     220 Foreclosure                        423 Withdrawal 28 USC 157                        defendant)                                465 Other Immigration
     230 Rent, Lease & Ejectment                                                         871 IRS-Third Party 26 USC                        Actions
     240 Torts to Land                  Prisoner Petitions                                   7609                                      470 Racketeer Influenced
     245 Tort Product Liability              535 Death Penalty                                                                             & Corrupt Organization
     290 All Other Real Property             540 Mandamus & Other                    Forfeiture/Penalty
                                                                                         625 Drug Related Seizure of                   480 Consumer Credit
                                             550 Civil Rights                                                                          490 Cable/Satellite TV
                                             555 Prison Conditions                           Property 21 USC 881
 Personal Property                                                                                                                     850 Securities/Commodities/
     370 Other Fraud                         560 Civil Detainee – Conditions             690 Other
                                                                                                                                           Exchange
     371 Truth in Lending                        of Confinement
                                                                                     Other Statutes                                    896 Arbitration
     380 Other Personal Property
                                                                                         375 False Claims Act                          899 Administrative Procedure
         Damage                         Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                               Act/Review or Appeal of
     385 Property Damage                                                                                                                   Agency Decision
                                            830 Patent                                       3729(a))
         Product Liability                                                                                                             950 Constitutionality of State
                                            835 Patent – Abbreviated New                 400 State Reapportionment
                                                Drug Application                         430 Banks & Banking                               Statutes
                                            840 Trademark                                450 Commerce/ICC                              890 Other Statutory Actions
                                            880 Defend Trade Secrets Act of                  Rates/etc.                                    (if not administrative agency
                                                2016 (DTSA)                              460 Deportation                                   review or Privacy Act)
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 o G. Habeas Corpus/                           o H. Employment                                o I. FOIA/Privacy Act                       o J. Student Loan
                2255                                 Discrimination

       530 Habeas Corpus – General                   442 Civil Rights – Employment                  895 Freedom of Information Act              152 Recovery of Defaulted
       510 Motion/Vacate Sentence                        (criteria: race, gender/sex,               890 Other Statutory Actions                     Student Loan
       463 Habeas Corpus – Alien                         national origin,                               (if Privacy Act)                            (excluding veterans)
           Detainee                                      discrimination, disability, age,
                                                         religion, retaliation)

                                               *(If pro se, select this deck)*                *(If pro se, select this deck)*

 o K. Labor/ERISA                              o L. Other Civil Rights                        o M. Contract                               o N. Three-Judge
                (non-employment)                           (non-employment)                                                                     Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                  441 Voting (if not Voting Rights               120 Marine                                  441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                         Act)                                       130 Miller Act                                  (if Voting Rights Act)
       740 Labor Railway Act                         443 Housing/Accommodations                     140 Negotiable Instrument
       751 Family and Medical                        440 Other Civil Rights                         150 Recovery of Overpayment
           Leave Act                                 445 Americans w/Disabilities –                     & Enforcement of
       790 Other Labor Litigation                        Employment                                     Judgment
       791 Empl. Ret. Inc. Security Act              446 Americans w/Disabilities –                 153 Recovery of Overpayment
                                                         Other                                          of Veteran’s Benefits
                                                     448 Education                                  160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise

 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                                                  o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation             District Judge        Litigation –
                           Court             Court                                     district (specify)                             from Mag.             Direct File
                                                                                                                                      Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Unlawful monopoly maintenance in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                       Check YES only if demanded in complaint
      COMPLAINT
                                             ACTION UNDER F.R.C.P. 23
                                                                                     JURY DEMAND:                               YES               NO      ✘
 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO      ✘               If yes, please complete related case form


             10/20/2020
 DATE: _________________________                                                                 /s/Kenneth M. Dintzer
                                                 SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

     The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                       of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                       under Section II.

           IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                       represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                       nature of suit found under the category of the case.

           VI.         CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.       RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                       the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
